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                  UNITED STATES DISTRICT COURT
                             DISTRICT OF HAWAII

                                            Case No. CR 18-0068-JMS-RLP
 UNITED STATES OF AMERICA,
                                            UNITED STATES’ RESPONSE IN
                        Plaintiff,          OPPOSITION TO DEFENDANT
            v.                              KATHERINE KEALOHA’S MOTION
                                            TO CONTINUE TRIAL
 KATHERINE P. KEALOHA (1), and
 LOUIS M. KEALOHA (2),

                       Defendants.

      Comes now the UNITED STATES OF AMERICA, by and through its

counsel, and hereby submits its Opposition to the Motion to Continue Trial filed by

Defendant Katherine Kealoha (“Defendant”). Months ago, Defendant requested a

continuance of the June 2018 trial date, and specifically agreed to a new date of

November 14, 2018. Based on the representations of Defendant and her counsel,
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this Court granted the request and set a trial date of November 14, 2018. Now, just

four weeks prior to trial and without providing the public with any justification,

Defendant asks this Court to vacate her long-set trial date. Defendant’s only

proffered basis for a continuance is contained in a declaration and exhibits that she

filed under seal, as they contain “confidential medical records and information.”

Given the timing of Defendant’s request, her recent appearances in public, and her

past practice of feigning serious illnesses, Defendant’s request is suspect. As with

her earlier motion to continue the trial, Defendant’s instant motion is premature and

should be denied without prejudice.

                                         I.

                         STATEMENT OF THE CASE

      On March 22, 2018, the grand jury for the District of Hawaii returned a

Superseding Indictment against Defendant on a variety of charges, including

conspiracy, obstruction, bank fraud, and aggravated identity theft. Case No. CR 17-

0582-JMS-RLP, ECF Doc. 164. Trial of the case had previously been set for June

18, 2018. Id. ECF Doc. 125, at 3. On May 3, 2018, this Court severed the counts

into two separate trials: the first involving only Defendant and co-defendant Louis

Kealoha, and the second involving all six defendants. Id. ECF Doc. 230, 232.

      On May 9, 2018, Defendant appeared for a status hearing and moved to

continue the June 2018 trial date, contending that she needed additional time to

review the discovery, prepare motions, and ready both cases for trial. Id. ECF Doc.

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236, 238. The Court granted the motion, made findings sufficient to exclude time

under the Speedy Trial Act, and set a date of November 14, 2018, for the severed

counts against Defendant and Louis Kealoha. Id.

      On May 24, 2018, the grand jury returned a 14-count Second Superseding

Indictment (“SSI”), setting out the eight counts of bank fraud (in violation of 18

U.S.C. § 1344) against Defendant and Louis Kealoha, the four counts of aggravated

identity theft (18 U.S.C. § 1028A) against Defendant, and the two counts of

obstruction of official proceeding (18 U.S.C. § 1512(c)) against Defendant. Id. ECF

Doc. 248. At the arraignment on May 30, 2018, the Court confirmed the existing

trial date of November 14, 2018, and directed that further proceedings on the severed

counts be docketed in Case No. CR 18-0068-JMS-RLP. Id. ECF No. 248.

      On July 27 and July 31, 2018, Defendant and Louis Kealoha separately filed

motions to sever counts. Case No. CR 18-0068-JMS-RLP, ECF Docs. 23, 27.

Defendant made no mention of moving the trial date, or seeking relief because of an

alleged medical condition. At a hearing on August 31, 2018, the Court denied the

motions to sever and maintained the November trial date. ECF Doc. 52-53.

      On September 12, 2018, two days before the final pretrial conference,

Defendant filed a sealed motion. ECF Doc. 61. That motion was discussed and

granted during a sealed portion of the final pretrial conference on September 14,

2018. ECF Doc. 67, 71. Although a continuance of the trial was not mentioned

during the hearing, just a few hours later, Defendant filed a written motion to

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continue trial, claiming that “[i]n light of the sealed motion granted today, counsel

will need more time to consult with defendant and prepare appropriate motions once

that motion is resolved.” ECF Doc. 68-1. That same day, the Court denied

Defendant’s motion as premature. ECF Doc. 69.

      On October 10, 2018, Defendant filed a second motion to continue trial. ECF

Doc. 88. She moved to seal the accompanying declaration and exhibits, claiming

they contained “confidential medical records and information.” ECF Doc. 89. This

Court granted the request to seal Defendant’s pleadings, and set a hearing date for

October 23, 2018.

                                           II

                                    ARGUMENT

      This Court should deny Defendant’s motion as premature and lacking

sufficient detail. First, as outlined in the United States’ Supplemental Response in

Opposition (filed concurrently under seal), Defendant’s under seal filing fails to

establish how the alleged medical condition would interfere with Defendant’s ability

to prepare for, and participate in, her trial. No doubt, the pendency of a criminal trial

must place significant pressure upon Defendant. But that pressure is attendant in

every criminal trial, and Defendant has not demonstrated that her present situation

renders her unable to prepare for or participate in her trial.

      Second, the timing of Defendant’s request is suspect. The first time Defendant

raised an issue concerning her medical condition was in her under seal filing of

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September 12, 2018, but at that time she did not seek to continue the trial. Now, just

one month before trial, Defendant claims her and her counsel cannot be ready for a

November trial because of her medical condition. In Defendant’s prior court

appearances, no mention was made of any condition which would justify the instant

request. Defendant recently has been observed in public behaving in a manner

entirely consistent with someone who is able to stand trial next month.1 And

according to Defendant’s counsel, earlier this month Defendant explained that she

“spoke to Ms. Ho [the relator selected by the Court] and that Ms. Ho agreed that the

custom-built furniture currently staged in the house could increase the value of the

property and decrease the costs and delays of restaging the property.” ECF Doc. 84-


                                                            
1
 For example, just before transferring possession of her former residence to the
United States Marshalls Service, Defendant was observed by the media receiving
and paying for food from a delivery service:




https://www.hawaiinewsnow.com/2018/10/12/authorities-seize-hawaii-kai-home-ex-police-
chief-wife/; https://www.facebook.com/1420205458192728/posts/2169524246594175/ (video).
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1 at 2-3. According to her counsel, “Ms. Kealoha further indicated that she arranged

to meet Ms. Ho . . . to show her the custom-built furniture and the staging of the

property.” Id. at 3. Such are not the actions of a gravely ill person.

      Third, as outlined in the United States’ Supplemental Response in Opposition,

Defendant has previously attempted to manipulate others by claiming to suffer from

serious medical infirmities. The instant motion appears to be just another in a series

of tactics designed to avoid the consequences of her actions.

      While reasons may exist to continue the trial, the Defendant’s proffered

justifications are insufficient. The motion should be denied.

Dated: October 18, 2018

                                          JEFFERSON B. SESSIONS III
                                          United States Attorney General

                                          ADAM L. BRAVERMAN
                                          United States Attorney

                                          /s/ Eric J. Beste
                                          MICHAEL G. WHEAT
                                          ERIC J. BESTE
                                          JANAKI S. GANDHI
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                                          Special Attorneys to the Attorney General




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                       UNITED STATES DISTRICT COURT
                                DISTRICT OF HAWAII
  UNITED STATES OF AMERICA,                         Case No. CR 18-0068-JMS-RLP
                       Plaintiff,                   CERTIFICATE OF SERVICE
          v.
  KATHERINE P. KEALOHA (1), et al.,
                       Defendants.


IT IS HEREBY CERTIFIED that:
        I, Eric J. Beste, am a citizen of the United States and am at least eighteen years

of age. My business address is 880 Front Street, Room 6293, San Diego, CA 92101-

8893.

        I am not a party to the above-entitled action. I have caused service of the

foregoing on all parties in this case by electronically filing the foregoing with the

Clerk of the District Court using its ECF System, which electronically notifies them.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on October 18, 2018.



                                                 s/ Eric J. Beste
                                                 Eric J. Beste 
                                             
                                             




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